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                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION
IN RE:                                          )   CASE NO: 18-42077
VERONICA R DESHAY                               )   Chapter 13
                                                )
                                                )   Response Due: 04/06/2023
                                                )   Hearing: 04/13/2023 10:00 am
                      Debtor                    )   Location: St. Louis, Room 7 South

   NOTICE OF HEARING AND TRUSTEE'S MOTION TO DISMISS FOR LACK OF
  FEASIBILITY OF THE CHAPTER 13 PLAN AND FOR FAILURE TO TURN OVER
                           TAX RETURNS

PLEASE TAKE NOTICE: The Motion herein is scheduled for hearing at the date and time
shown above.

WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE BY April
06, 2023. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE
GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION
AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE HEARING.
THE DATE IS SET OUT ABOVE. UNLESS THE PARTIES AGREE OTHERWISE, THE
COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE THE
MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

   COMES NOW Diana S. Daugherty, Standing Chapter 13 Trustee in Bankruptcy, and for her
Motion to Dismiss states as follows:
1. Debtor's plan will not pay secured creditors the fair market value of their collateral during
    the proposed plan term. 1325 (a)(5)(B)(ii)
2. Debtor's plan will not pay priority creditors in full.
3. Debtor's plan will not have enough funds to pay attorney fees.
4. The Trustee has not received 2019, 2020 & 2021 Federal & State income tax returns.
   WHEREFORE the Trustee prays the Court enter its order dismissing this Chapter 13 case.
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                     DISMISS FOR LACK OF FEASIBILITY OF THE CHAPTER                       Page 2 of 3
Dated: March 02, 2023                                /s/ Diana S. Daugherty
                                                     Diana S. Daugherty
MTDFEAS--LS
                                                     Standing Chapter 13 Trustee
                                                     P.O. Box 430908
                                                     St. Louis, MO 63143
                                                     (314) 781-8100 Fax: (314) 781-8881
                                                     trust33@ch13stl.com

                                   CERTIFICATE OF SERVICE
    I certify that a true and correct copy of the foregoing document was filed electronically on
March 02, 2023, with the United States Bankruptcy Court, and has been served on the parties in
interest via e-mail by the Court's CM/ECF System as listed on the Court's Electronic Mail Notice
List.

     I certify that a true and correct copy of the foregoing document was filed electronically with
the United States Bankruptcy Court, and has been served by Regular United States Mail Service,
first class, postage fully pre-paid, addressed to those parties listed on the Court's Manual Notice
List and listed below on March 02, 2023.

VERONICA R DESHAY
715 HAZEL VALLEY DRIVE
HAZELWOOD, MO 63042

                                                     /s/ Diana S. Daugherty
                                                     Diana S. Daugherty, Chapter 13 Trustee
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                            CREDITOR INFORMATION

CREDITOR                                    CLAIM AMOUNT          PRINCIPAL OWED
HEAGLER LAW FIRM                                  $2,000.00                   $0.00
VERONICA R DESHAY                                     $0.00                   $0.00
HEAGLER LAW FIRM                                  $2,000.00               $2,000.00
INTERNAL REVENUE SERV                             $1,117.62               $1,117.62
MO DEPT OF REVENUE                                  $235.70                 $235.70
MO DEPT OF REVENUE                                $1,595.76               $1,595.76
QUANTUM3 GROUP LLC                                   $75.00                  $75.00
QUANTUM3 GROUP LLC                                   $75.00                  $75.00
INTERNAL REVENUE SERV                               $303.81                 $303.81
MO DEPT OF REVENUE                                   $56.75                  $56.75
MO DEPT OF REVENUE                                $1,522.28               $1,522.28
C&F FINANCE CO                                   $12,312.81              $12,312.81
C&F FINANCE CO                                   $12,125.00                 $596.75
